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22    James V. Deppoleto Jr.

23
                                 UNITED STATES DISTRICT COURT
24
                                  FOR THE DISTRICT OF NEVADA
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 1    JAMES V. DEPPOLETO JR.,
                                                              CASE NO. 2:22-CV-2013
 2                                    Plaintiff,
                                                              JOINT STATUS REPORT
 3    v.
 4    TAKEOVER INDUSTRIES
 5    INCORPORATED, et al.

 6                                  Defendant.

 7
 8              Pursuant to the Court’s Minute Order on July 9, 2024 (ECF No. 78), Plaintiff, James V.
 9    Deppoleto Jr. (“Mr. Deppoleto” or “Plaintiff”), by and through his undersigned counsel, and
10
      Defendants, Takeover Industries Incorporated (“Takeover”), Tom Zarro (“Zarro”), Michael
11
      Holley (“Holley”), Toby McBride (“McBride”), Joseph Pavlik (“Pavlik”) and NextGen
12
      Beverages, LLC (“NextGen”) (collectively, the “Takeover Defendants”), 1 by and through their
13
14    undersigned counsel, hereby submit the following Joint Status Report:

15              1.      On June 20, 2024, the Parties submitted a Stipulation to Stay the Case and Request

16    for a Status Check (ECF No. 75), in which the Parties informed the Court that they had continued
17    to engage in efforts to reach a settlement in this matter and had agreed, in principle, on terms, and
18
      had begun the execution of some of the necessary settlement documents, but needed additional
19
      time for certain corporate formalities to occur in order to approve the settlement.
20
                2.      Because the Parties were engaging in settlement efforts, the Parties jointly
21
22    requested that this action and all related deadlines be stayed to allow the Parties additional time to

23    finalize settlement.

24              3.      On June 20, 2024, the Court issued a Minute Order declining to grant a stay but
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      ordered all pending deadlines to be vacated, and ordered that the Parties file dismissal paperwork
26
27    1
          Plaintiff and the Takeover Defendants may be referred to as the “Parties.”

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 1    or a joint status report no later than July 8, 2024.

 2            4.      On July 8, 2024, the Parties filed a joint status report informing the Court that the

 3    Parties had not executed a final settlement agreement yet. (ECF No. 78.) In response, the Court
 4    ordered that the Parties to file dismissal paperwork or a joint status report no later than July 22,
 5
      2024. (ECF No. 78.)
 6
              5.      The Parties have not executed a final settlement agreement, and thus cannot file
 7
      dismissal documents at this time.
 8
 9            6.      The Parties recently agreed to reschedule depositions from July 22-26, 2024, to

10    August 20 and August 27-30, 2024.

11            7.      The Parties’ respective positions on the status of settlement are below:
12
                      a. Plaintiff’s Position: The parties unfortunately still have not resolved this
13
                          lawsuit. Despite the Takeover Defendants’ commitment to providing Plaintiff
14
                          with executed resolutions the week of July 8, 2024 – as the Takeover
15
                          Defendants expressed in the last joint status report – they still have not done so.
16
17                        The Takeover Defendants provided Plaintiff with additional documents on the

18                        afternoon of July 22, 2024, but Plaintiff has not completed a review of them yet
19                        and cannot confirm whether all documents which are a prerequisite to
20
                          settlement have been received. If the Court feels it necessary, the Parties are
21
                          happy to submit another joint status report to the Court on August 30, 2024, to
22
                          advise the Court of the status of settlement, if dismissal documents have not
23
24                        been filed before that time.

25                    b. Takeover Defendants’ Position: The Parties unfortunately have still not

26                        finalized the settlement in this matter. As previously noted, Plaintiff’s counsel
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 1                  has demanded that Defendants produce numerous corporate records, and

 2                  Defendants have now complied with those requests and produced nearly every

 3                  item demanded by Plaintiff. In Defendants’ view of the current status of
 4                  settlement negotiations, there are two sticking points in negotiations that have
 5
                    delayed final settlement. Nevertheless, the Parties remain committed to
 6
                    finalizing this settlement and are actively working toward resolving those issues
 7
                    and expect to have the matter fully resolved with all necessary settlement
 8
 9                  documents executed before the scheduled depositions. At this point, given that

10                  there are only two sticking points preventing final settlement from being

11                  reached, Defendants are requesting that the Court order the Parties to a
12
                    settlement conference with a magistrate judge. Defendants feel that getting
13
                    all Parties together and sitting down in one room will help bring this matter
14
                    to a final resolution and help the Parties resolve their dispute as to the
15
                    remaining two issues. As such, Defendants respectfully request that the
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17                  Court order all Parties to attend a settlement conference with a magistrate

18                  judge. If the Court feels it necessary, the Parties are happy to submit another
19                  joint status report to the Court on August 30, 2024 to advise the Court of the
20
                    status of settlement, if dismissal documents have not been filed before that time;
21
                    however, Defendants feel that the requested settlement conference would
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                    be the most productive step toward reaching a settlement at this stage.
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24                  Additionally, the Parties have scheduled depositions for August 20 and August

25                  27-30, 2024 in the event that the settlement is not finalized.

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 1    DATED this 22nd day of July, 2024.

 2    HUSCH BLACKWELL LLP

 3    /s/ Patrick M. Harvey                   HALL & EVANS LLC
      JAMES PATRICK SHEA
 4    Nevada Bar No. 405                      /s/ Kurt R. Bonds
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 5    Nevada Bar No. 8538                     Nevada Bar No. 6228
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17    And
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 1                                CERTIFICATE OF SERVICE

 2
           1.    On July 22, 2024, I served the following document(s): JOINT STATUS REPORT
 3
           2.    I served the above document(s) by the following means to the persons as listed
 4               below:
 5               X      a.      ECF System:
 6
                 KURT R. BONDS on behalf of Defendants Takeover Industries Incorporated, Tom
 7               Zarro, Michael Holley, Toby McBride, Joseph Pavlik and NextGen Beverages, LLC
                 nvefile@hallevans.com; bondsk@hallevans.com
 8
                 DAVID SEXTON on behalf of Defendants Takeover Industries Incorporated, Tom
 9               Zarro, Michael Holley, Toby McBride, Joseph Pavlik and NextGen Beverages, LLC
10               sextond@hallevans.com

11               And all other parties requesting notice.

12               ☐      b.      United States mail, postage fully prepaid:
13
                 ☐      c.      Personal Service:
14
                 I personally delivered the document(s) to the persons at these addresses:
15
16                               ☐       For a party represented by an attorney, delivery was made by
                 handing the document(s) at the attorney’s office with a clerk or other person in
17               charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                 in the office.
18
                                 ☐       For a party, delivery was made by handling the document(s)
19
                 to the party or by leaving the document(s) at the person’s dwelling house or usual
20               place of abode with someone of suitable age and discretion residing there.

21               ☐       d.      By direct email (as opposed to through the ECF System):
                 Based upon the written agreement of the parties to accept service by email or a
22
                 court order, I caused the document(s) to be sent to the persons at the email
23               addresses listed below. I did not receive, within a reasonable time after the
                 transmission, any electronic message or other indication that the transmission was
24               unsuccessful.
25               ☐      e.      By fax transmission:
26
                 Based upon the written agreement of the parties to accept service by fax
27               transmission or a court order, I faxed the document(s) to the persons at the fax

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 1               numbers listed below. No error was reported by the fax machine that I used. A copy
                 of the record of the fax transmission is attached.
 2
                 ☐      f.      By messenger:
 3
                 I served the document(s) by placing them in an envelope or package addressed to
 4
                 the persons at the addresses listed below and providing them to a messenger for
 5               service.

 6               I declare under penalty of perjury that the foregoing is true and correct.
 7               Dated: July 22, 2024.
 8                                              By: /s/ Patrick M. Harvey

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